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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS

RYAN, LLC, et al.,
                        Plaintiffs,
            v.
                                               Civil Action No. 3:24-cv-986-E
FEDERAL TRADE COMMISSION,

                        Defendant.

 UNOPPOSED MOTION OF AMICI NATIONAL RETAIL FEDERATION,
   NATIONAL FEDERATION OF INDEPENDENT BUSINESS SMALL
   BUSINESS LEGAL CENTER, INC., INTERNATIONAL FRANCHISE
 ASSOCIATION, ASSOCIATED BUILDERS AND CONTRACTORS, INC.,
     AMERICAN HOTEL & LODGING ASSOCIATION, NATIONAL
  ASSOCIATION OF WHOLESALER-DISTRIBUTORS, INDEPENDENT
     ELECTRICAL CONTRACTORS, CONSUMER TECHNOLOGY
  ASSOCIATION, UNITED STATES COUNCIL FOR INTERNATIONAL
BUSINESS, THE HOME CARE ASSOCIATION OF AMERICA, AND THE
RESTAURANT LAW CENTER FOR LEAVE TO FILE BRIEF IN SUPPORT
    OF PLAINTIFFS’ MOTIONS TO STAY EFFECTIVE DATE AND
          PRELIMINARY INJUNCTION, ECF NOS. 23 & 46

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      UNOPPOSED MOTION FOR LEAVE TO FILE AMICUS BRIEF

      Amici curiae, the National Retail Federation, the National Federation of

Independent Business Small Business Legal Center, Inc., the International Franchise

Association, the Associated Builders and Contractors, Inc., the American Hotel &

Lodging Association, the National Association of Wholesaler-Distributors, the

Independent Electrical Contractors, Consumer Technology Association, the United

States Council for International Business, the Home Care Association of America,

and the Restaurant Law Center (collectively, the “amici”) respectfully submit this

unopposed motion for leave to file a brief in support of Plaintiffs’ Motions to Stay

Effective Date and Preliminary Injunction, ECF Nos. 23 and 46 (the “Motions”),

pursuant to Local Rule 7.2(b).

      The eleven amici represent thousands of companies that collectively employ

tens of millions of employees at all levels across virtually every facet of the U.S.

economy. Their interest in the outcome of the litigation is that most of their members

would qualify as “employers” under the Final Rule and the Final Rule would upend

their contractual relations with their workforces.

      “The extent to which the court permits or denies amicus briefing lies solely

within the court’s discretion.” United States ex rel. Gudur v. Deloitte Consulting

LLP, 512 F.Supp.2d 920, 927 (S.D. Tex. 2007), aff’d sub nom. United States ex rel.

Gudur v. Deloitte & Touche, 2008 WL 3244000 (5th Cir. Aug. 7, 2008). Because


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“[n]o statute, role, or controlling case defines a federal district court’s power to grant

or deny leave to file an amicus brief . . . district courts commonly refer to Rule 29

[of the Federal Rules of Appellate Procedure] for guidance.” Id.; see also Wilson v.

Austin, 2023 WL 5674114, at *7 (E.D. Tex. 2023) (noting grant of leave to file

amicus brief). Under Rule 29, private parties “may file a brief only by leave of court

or if the brief states that all parties have consented to its filing[.]” Fed. R. App. P.

29(a)(2) (emphasis added). Counsel for the Parties have stated that they consent

to amici filing the proposed brief.

      Amici respectfully submit that the proposed brief will be helpful to the Court

in resolving the pending motion. These amici represent industries in which narrowly

tailored noncompete agreements, used appropriately, are critical to protect valuable

trade secrets, customer relationships, and other workforce investments such that the

Final Rule poses a critical threat to those industries. Moreover, the proposed brief

will not cause any delay in the proceedings, nor will it prejudice any party, as

confirmed by all Parties’ consent to the filing.

                                   CONCLUSION

      For these reasons, amici curiae ask the Court to grant leave to file the attached

brief in support of Plaintiffs’ Motions.




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Dated: May 14, 2024

Respectfully submitted,

/s/ Edward J. Loya Jr.
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                       CERTIFICATE OF COMPLIANCE

      I hereby certify the foregoing complies with the Procedures for Cases

Assigned to District Judge Ada Brown and Standing Order, that the foregoing brief

contains 439 words, including footnotes, and excluding the case caption, table of

contents, table of authorities, signature block, and certificates, and that foregoing is

typed in 14-point font and the footnotes are typed in 11-point font.

Date: May 14, 2024
                                           /s/ Edward J. Loya Jr.
                                               Edward J. Loya Jr.




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                           CERTIFICATE OF SERVICE

      I hereby certify that on this date, the foregoing document was electronically

filed in this matter with the Clerk of Court, using the ECF system, which sent

notification of such filing to all counsel of record.

Date: May 14, 2024
                                         /s/ Edward J. Loya Jr.
                                         Edward J. Loya Jr.




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